Filed 8/21/24 P. v. Binns CA2/7
   NOT TO BE PUBLISHED IN THE OFFICIAL REPORTS

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IN THE COURT OF APPEAL OF THE STATE OF CALIFORNIA

                         SECOND APPELLATE DISTRICT

                                      DIVISION SEVEN


 THE PEOPLE,                                                B335006

           Plaintiff and Respondent,                        (Los Angeles County
                                                            Super. Ct. No. SA028021)
           v.

 KEYRON LAMONT BINNS,

           Defendant and Appellant.


     APPEAL from an order of the Superior Court of
Los Angeles County, Mark S. Arnold, Judge. Affirmed.
     Richard B. Lennon, under appointment by the Court of
Appeal; Keyron Lamont Binns, in pro. per., for Defendant and
Appellant.
     No appearance for Plaintiff and Respondent.
                   _______________________
       Keyron Lamont Binns appeals from a postjudgment order
denying his petition for resentencing under Penal Code former
section 1170.95 (now section 1172.6).1 After reviewing the record,
Binns’s appointed appellate counsel did not identify any arguable
issues. Nor, after independently reviewing the record and the
contentions presented by Binns in his 165-page supplemental
brief, have we. Therefore, we affirm.

      FACTUAL AND PROCEDURAL BACKGROUND

A.     The Attempted Murder and Binns’s Convictions
       The evidence at trial established that Nichelle Shaw was
sitting in her car in the drive-through line at a restaurant at
2:45 a.m. on January 27, 1997, when Binns, pointing a nine-
millimeter handgun, and a confederate (who was never
identified) approached, forced their way into the car, and drove
off with Shaw inside.2 As they drove, Binns demanded all of
Shaw’s money and then insisted that Shaw take the men
somewhere to get more money. She complied and took them to
her uncle’s home.
       The men entered the uncle’s home with Shaw and held the
occupants—Shaw’s uncle, Malcolm Hardaway (Hardaway), her
aunt, Odessa Hardaway, and three cousins—at gunpoint. The
men took jewelry and other property from the family members.
During the several hours the assailants remained in the



1     Further statutory references are to the Penal Code.
2    The summary of facts is taken from our opinion in People v.
Binns (April 26, 2022, B301959) [nonpub. opn.].



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residence, Binns struck Hardaway at least twice and sexually
assaulted Shaw.
      When Binns attempted to tie the victims with an extension
cord, Hardaway, fearing he would be killed, attempted to escape
through the front door. Both of the perpetrators followed
Hardaway to the porch. A scuffle ensued. Odessa Hardaway was
able to lock the men outside and called the police emergency
number. During the altercation outside the doorway, Hardaway
kicked Binns’s gun to the curb and ran down the street. Binns
yelled, “Smoke that fool,” and Binns’s confederate fired several
shots at Hardaway but missed.
      As the police officers approached with their patrol car’s
sirens sounding, Binns and his companion fled to another street,
where they approached Francisco Franco at gunpoint, took
Franco’s car and wallet, and fled the area.
      At the Hardaway residence, the police recovered Binns’s
jacket, which contained his driver’s license. The victims
identified Binns as one of the assailants based on the driver’s
license photograph.
      In December 1997 a jury convicted Binns of two counts of
carjacking (§ 215, subd. (a)), one count of kidnapping to commit
robbery (§ 209, subd. (b)), four counts of first degree home
invasion robbery (§ 211), one count of second degree robbery
(§ 211), one count of sexual battery of a person who was
unlawfully restrained (§ 243.4, subd. (a)), and one count of
attempted willful, deliberate, and premeditated murder (§§ 187,
subd. (a), 664). The jury found true the allegations that Binns
personally used a firearm in the commission of the carjacking
and four of the robberies but not the attempted murder.
(§§ 1203.06, subd. (a)(1), 12022.5, subd. (a)(1).)




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       In a bifurcated proceeding, the trial court found Binns had
suffered three prior serious or violent felony convictions within
the meaning of the three strikes law (§§ 667, subds. (b)-(i),
1170.12). We affirmed Binns’s convictions but remanded for
resentencing. (People v. Binns (Jan. 26, 1999, B119375) [nonpub.
opn.].) On remand the court sentenced Binns to an aggregate
indeterminate state prison term of 195 years to life. We affirmed
the judgment. (People v Binns (Apr. 17, 2000, B130456) [nonpub.
opn.].)

B.     Binns’s First Petition for Resentencing
       On August 5, 2019 Binns, representing himself, filed a
petition for resentencing under former section 1170.95, filing
both a multipage typed document with a supporting
memorandum and the printed form petition used by many
inmates. On the printed form Binns checked the boxes stating, “I
could not now be convicted of 1st or 2nd degree murder because of
changes made to Penal Code §§ 188 and 189, effective January 1,
2019”; “I was not the actual killer,” inserting “I was not the
Shooter”; and “I was not a major participant in the felony or I did
not act with reckless indifference to human life during the course
of the crime or felony.” He did not check the boxes stating he had
been charged in a complaint, information, or indictment that
would allow his prosecution under the natural and probable
consequences doctrine, or that he had been convicted at trial
under the natural and probable consequences doctrine, or the box
declaring he had not aided or abetted the actual shooter with the
intent to kill. In his supporting memorandum, Binns requested
appointment of counsel.




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       The superior court, without appointing counsel, summarily
denied Binns’s petition. We affirmed the superior court’s order
denying Binns’s petition. (See People v. Binns (April 26, 2022,
B301959) [nonpub. opn.].) We concluded that any error in not
appointing counsel was harmless, explaining that “[b]ased on the
instructions given and the guilty verdict on attempted willful,
deliberate and premeditated murder, the jury necessarily found
that Binns, although not the shooter, was a direct aider and
abettor who acted with express malice—that is, he knew his
confederate intended to kill Hardaway when shooting at him and
encouraged or aided that unlawful act with the intent of
facilitating its commission. Malice was not imputed to Binns. As
such, he was ineligible for resentencing relief as a matter of law,
and his petition for resentencing was properly denied without
issuance of an order to show cause.” (Ibid.)

C.     Binns’s Second Petition for Resentencing
       On August 15, 2022 Binns, representing himself, filed a
second form petition for resentencing pursuant to former
section 1170.95. Binns checked the box indicating that he “could
not presently be convicted of murder or attempted murder
because of changes made to Penal Code §§ 188 and 189, effective
January 1, 2019,” and he requested the appointment of counsel.
       After Binns was appointed counsel, the People filed an
opposition arguing that Binns was ineligible for relief because the
petition was successive and procedurally barred by collateral
estoppel. The People attached to their opposition a copy of this
court’s 2022 opinion affirming the denial of Binns’s prior petition
for resentencing. (People v. Binns, supra, B301959.) After
counsel for Binns filed a reply, the superior court ordered the




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Department of Corrections and Rehabilitation to make Binns
available by video conference.
       On November 29, 2023 Binns appeared by remote video
conference. Counsel for Binns was present in the courtroom, and
the prosecutor appeared telephonically. At the outset of the
hearing, the superior court confirmed with Binns that he could
hear the proceedings. Binns’s attorney argued that Binns had
never been afforded an opportunity to present his position on an
1172.6 petition with counsel. After hearing argument, the
superior court stated it had read the entire court file and briefs
filed by the parties. The court denied the petition, explaining the
jury was not instructed on the natural and probable
consequences doctrine, and further, the jury found Binns guilty of
attempted willful, deliberate, and premeditated murder, thereby
finding Binns had the intent to kill. In addition, the petition was
“a repeat of the initial 1170.95 petition.” Binns was therefore
ineligible for relief as a matter of law.
       After the superior court denied the petition, Binns
requested to be heard. He addressed the court, but the sound
quality was distorted, and the court reporter was unable to
transcribe what he was saying. The court requested that Binns’s
audio be muted, and Binns’s attorney stated on Binns’s behalf
that Binns was arguing that at the preliminary hearing he was
not held to answer for attempted murder, and instead, the
magistrate found probable cause for assault with a deadly
weapon. The People then improperly re-alleged attempted
murder in the information, and Binns was tried on that charge.
Counsel further argued the jury did not find true that Binns
personally used a firearm in the commission of the attempted




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murder, supporting Binns’s argument that malice was imputed to
him. The court again denied the petition. Binns timely appealed.

                         DISCUSSION

       We appointed counsel to represent Binns in his appeal from
the superior court’s order denying his petition. After reviewing
the record, appointed counsel did not identify any arguable
issues. On May 2, 2024 appointed counsel advised Binns that he
was filing a brief stating he was unable to find any arguable
issues, Binns could personally submit a supplemental brief
raising any contentions he believed the court should consider,
and this court would dismiss Binns’s appeal if he did not file a
supplemental brief. Binns’s counsel also stated in his declaration
that he sent Binns “the transcripts of the record on appeal and a
copy of this brief.”
       On July 8, 2024 we received a 165-page supplemental brief
from Binns, including 146 pages of exhibits. Binns argued he had
the right to be personally present at the hearing on November 29,
2023, and his audio during the hearing was muted so he could
not address the court. Further, he contends, had he been
present, he would have argued that the attempted murder charge
was invalid because the magistrate did not hold him to answer
for attempted murder at the preliminary hearing. Binns also
argued that his appellate counsel provided ineffective assistance
in filing a brief raising no arguable issues.

A.    Any Error in Binns Not Being Personally Present at the
      Prima Facie Review Hearing Was Harmless
      “A criminal defendant has the right under the state and
federal Constitutions to be personally present and represented by



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counsel at all critical stages of the trial. For purposes of the right
to be present, a critical stage is ‘one in which a defendant’s
“‘absence might frustrate the fairness of the proceedings’
[citation], or ‘whenever his presence has a relation, reasonably
substantial, to the fullness of his opportunity to defend against
the charge.’”’” (People v. Bryant, Smith and Wheeler (2014)
60 Cal.4th 335, 465; accord, People v. Quan (2023) 96 Cal.App.5th
524, 533 [“[t]he defendant’s presence is required when the court
must make fact-bound determinations as it exercises its
sentencing discretion”].)
       Sentencing and resentencing hearings, at which the court
exercises its discretionary sentencing authority, are considered
critical stages of the proceeding for which a defendant has a right
to be present. (See People v. Doolin (2009) 45 Cal.4th 390, 453;
People v. Simms (2018) 23 Cal.App.5th 987, 996 [the right to be
personally present “extends to sentencing and resentencing
proceedings”].) We are not aware of any published authority
addressing whether a defendant must be personally present at
the initial hearing to determine whether a defendant has made a
prima facie case for relief under section 1172.6. By contrast, once
a prima facie showing is made, a defendant is entitled to
personally attend the evidentiary hearing. (See People v. Quan,
supra, 96 Cal.App.5th at p. 534 [“[T]he defendant’s right to be
present at this critical hearing is based not just on the Sixth
Amendment right to counsel; defendant’s presence significantly
contributes to the fairness of the hearing as a matter of due
process.”]; People v. Basler (2022) 80 Cal.App.5th 46, 59 [“Basler
had state and federal constitutional rights to be personally
present at his section 1170.95, subdivision (d) resentencing




                                  8
hearing, or else provide a knowing, intelligent and voluntary
waiver of those rights.”].)
       The Supreme Court in People v. Lewis (2021) 11 Cal.5th
952, 972-973, in the context of a defendant’s right to counsel at
the prima facie review stage, rejected the defendant’s argument
that “a trial court’s ‘consideration of the record of conviction in
connection with a section [1172.6] petition is a “critical stage” of
the criminal process’ . . . . ¶. . . .¶ At that point, the petitioner
has not yet ‘stated facts sufficient to satisfy the court that a
hearing is required,’ but merely endeavors to do so.” Moreover,
the court held that the failure of the superior court to appoint
counsel for a defendant at the prima facie review stage was state
law error reviewable for prejudice under People v. Watson (1956)
46 Cal.2d 818. (Lewis, at pp. 973-974 [petitioner must
“‘demonstrate there is a reasonable probability that in the
absence of the error he . . . would have obtained a more favorable
result.’”].)
       To the extent Binns had a right to be present at the prima
facie review hearing, any error was harmless because, as
discussed, he was ineligible for relief as a matter of law.
Moreover, Binns was present at the hearing, albeit on video
conference, and he confirmed at the beginning of the hearing that
he could hear the proceedings. Although his audio became
distorted during the hearing, preventing the court reporter from
transcribing his argument, Binns was represented by counsel,
who was able to hear Binns and explain to the court the
argument Binns was making. Binns’s counsel also addressed the
arguments made by Binns on appeal.3

3      We do not reach Binns’s argument in his supplemental
brief that his attempted murder conviction violated the


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B.     The Filing of a No-issue Brief Does Not Demonstrate
       Ineffective Assistance of Appellate Counsel
       Shortly after we appointed counsel to represent Binns in
this appeal, Binns filed a Marsden motion4 seeking appointment
of new counsel because “all [appointed counsel] has ever done in
past proceedings was raise ‘no’ issue briefs.” We denied Binns’s
request in a three-page order dated April 19, 2024, explaining
“[t]here is no evidence that there is an irreconcilable conflict
between Binns and his appointed counsel on appeal or that
appointed counsel is not adequately representing Binns.”

separation of powers doctrine because the charge was dismissed
by the magistrate judge then refiled by the People.
Section 1172.6 allows a defendant to petition for resentencing
relief if three conditions are met, including that ‘[t]he petitioner
could not presently be convicted of murder or attempted murder
because of changes to Section 188 or 189 made effective
January 1, 2019.” (Id., subd. (a)(3).) The ability to petition for
relief does not allow a defendant to challenge a conviction long-
since final based on a ground unrelated to the changes to
section 188 or 189. (People v. Burns (2023) 95 Cal.App.5th 862,
865 [“Section 1172.6 does not create a right to a second appeal,
and Burns cannot use it to resurrect a claim that should have
been raised in his 2013 direct appeal.”].) Moreover, “under Penal
Code 739 the district attorney is not bound by the view of the
committing magistrate; he is free to file an information charging
the highest offense which any reasonable construction of the
evidence adduced at the preliminary hearing admits.” (People v.
McKee (1968) 267 Cal.App.2d 509, 514; accord, People v. Barba
(2012) 211 Cal.App.4th 214, 227-228.) We also do not reach
whether the superior court correctly denied the petition as a
successive petition raising the same issues as Binns’s first
petition.
4     People v. Marsden (1970) 2 Cal.3d 118.



                                 10
       In his supplemental brief Binns again argues that his
attorney’s filing of a no-issue brief constituted ineffective
assistance of appellate counsel. However, an appellate attorney
is not ineffective for failing to make an argument that wholly
lacks merit. (See People v. Solomon (2010) 49 Cal.4th 792, 843,
fn. 24 [“The Sixth Amendment does not require counsel to raise
futile motions.”]; People v. Cudjo (1993) 6 Cal.4th 585, 616
[“Because there was no sound legal basis for objection, counsel’s
failure to object to the admission of the evidence cannot establish
ineffective assistance.”].) For the reasons discussed, counsel’s
assessment that Binns’s contentions lacked any colorable merit
was entirely correct. Moreover, there is no constitutional right to
counsel under section 1172.6, subdivision (c), and “the right to
counsel at that point in the proceedings is purely statutory.”
(People v. Delgadillo (2022) 14 Cal.5th 216, 227.)
       Because no cognizable legal issues have been raised by
Binns’s appellate counsel or Binns or identified in our
independent review of the record, the order denying his petition
for resentencing is affirmed. (See People v. Delgadillo, supra,
14 Cal.5th 216 at pp. 231-232; see generally People v. Kelly (2006)
40 Cal.4th 106, 118-119; People v. Wende (1979) 25 Cal.3d 436,
441-442.)




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                        DISPOSITION

      The order denying Binns’s petition for resentencing is
affirmed.




                                     FEUER, J.
      We concur:



            MARTINEZ, P. J.



            SEGAL, J.




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